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Chair of the UN Human Rights Commission

Dear Chairperson,

| would like to take your upcoming trip to Iran as an opportune time to draw your attention to the

special judicial predicament and circumstances in which my husband and | find ourselves:

1.

i, Mehrangiz Kar, a lawyer and member of tranian Bar Association, a writer, and a journalist,
have spent 23 years defending the civil rights of Iranians during the Islamic Republic reign.
Despite difficult conditions, | had never left ran during this period. Moreover, my advocacy and
defense of democracy, human rights, and women rights were always conducted in accordance
with the Islamic Republic of Iran’s laws.
In the year 2000, | was arrested by the 3 Branch of Tehran’s Revolutionary Court for attending
what came be to known as “Berlin Conference”. | was released on bail after spending 53 days in
solitary confinement and enduring various forms of pressure and duress. In the first trial, | was
sentenced to four years in prison in an unfair and illegal process. The sentence, thanks to efforts
of Mr. Maurice Copithorne, former United Nations rapporteur on human rights in fran (1995-
2002), was reduced on the appeal to a fine which I duly paid.
However, the same branch presided by Judge Anmadi Moghadas charged me with three other
counts with regards to the Berlin Conference and sent my case to branch 1410 of General Courts
(also known as Press & Journalism Court} presided by Judge Mortazavi. The three charges are as
follows:
1. Refusal to Bbserve Islamic Hijab in Berlin Conference

ih. Repudiation of Sharia Laws regarding the Hijab

i]. insulting and vituperation of sacred religious concepts
This criminal case is still open against me. | was able to leave Iran with the help of Human Rights
division within Netherlands’ embassy in iran for the treatment of my cancer which / contracted
during my detention. |am currently under treatment in the United States. While | strongly
desire to return to tran after a round of treatment, this case and other various cases which they
have reportedly opened against me have impeded my return to tran.
L, hereby, would like to ask you to follow up with my legal case so that ! would no longer have to

stay outside Iran.
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2. My husband, Siamak Pourzand, 72 is a veteran journalist who was abducted on November 24th
2001, After spending 8 months in solitary confinement and secret prison and detention
locations, he was sentenced to 11 years in prison on the charges of overthrowing (the regime),
espionage, and other bogus charges in an unfair trial which did not meet the minimum
standards of due process of law, It has also been announced that another case is open against
him which, if convicted, could result in death penalty for him. The authorities did not stop here.
While in very poor physical and mental state, Siamak Pourzand was forced to make false
televised confession against himself and others, including me.

The confessions were made under circumstances where there was no knowledge of his
whereabouts and conditions under which he was being held. We sought help from International
organizations and finally after 14 months and as a result of pressure from European Union, he
was granted temporary medical furlough.
He is now residing and under treatment in an apartment located in Abbas Abad neighbourhood
(Pakistan Ave. 4" street, No. 21), He could be, however, returned to prison at any moment.
Siamak Pourzand is so terrified and the surveillance of his acts and words is so strong that he is
unable to describe the conditions of his detention. All his telephone conversations with his
family are tapped. He is constantly summoned to provide reports against others. All these
measures are meant to ensure he is intimidated and forced into silence.
Furthermore, other cases opened against him are used to extort him and would be actively
pursued if he breaks his silence.
This is how life, security, and dignity of an entire family which had devoted itself to the realm of cultural
activities have become pawns in illegal and violent ordeal orchestrated by authorities. The abject abuses
have resulted in dispersion of the family and disintegration of our family unit.
|, hereby, respectfully request that you would consider and investigate my husband and my judicial/lega!
situation. We have been deprived of all our human rights and a life under normal conditions.

I greatly thank you for your time and considerations in advance.
Sincerely yours,
Mehrangiz Kar

Lawyer (Iranian Bar Association) and Author

Bethesda, MD, USA
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